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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1496V
                                      Filed: April 13, 2017
                                         UNPUBLISHED

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RACHEL KOENIG,                            *
                                          *
                    Petitioner,           *     Ruling on Entitlement; Concession;
v.                                        *     Influenza;
                                          *     Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                       *     Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                       *
                                          *
                    Respondent.           *
                                          *
****************************
C. Clark Hodgson, III, Muller Brazil, LLP, Dresher, PA, for petitioner.
Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On November 14, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) following her October 6, 2015 influenza vaccination. Petition
at 1-2. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

       On April 11, 2017, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “has concluded that petitioner’s alleged injury is
consistent with SIRVA; that a preponderance of evidence establishes that her SIRVA
was caused-in-fact by the flu vaccination she received on October 6, 2015; and that no
other causes for petitioner’s SIRVA were identified.” Id. at 2. Respondent further

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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agrees that ‘the statutory six month sequela requirement has been satisfied” and that
petitioner has satisfied all legal prerequisites for compensation under the Vaccine Act.
Id.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




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